






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00591-CR






Rick Renfro, Appellant


v.


The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW OF BURNET COUNTY

NO. M24975, HONORABLE W. R. SAVAGE, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Rick Renfro filed a notice of appeal from his conviction for failure to wear a seat belt.
The county court assessed a $50 fine and $216 in court costs.  Proceeding pro se, Renfro failed to
pay or make arrangements to pay the $19 fee requested for preparation of the record, claiming that
he was indigent. After a hearing, the trial court determined that Renfro is not indigent.  No record
of the trial on the merits has been filed, and there is no indication that Renfro has paid, made
arrangements to pay, or intends to pay for the record of the trial on the merits.  Renfro stated in a
letter file-stamped by this Court on March 22, 2010, that he is "unable to pay for the records."

		By order dated April 9, 2010, this Court informed Renfro that he could file a brief on
or before May 14, 2010, challenging the determination that he is not indigent.  The April 9 order
cautioned that, if Renfro failed to file a brief challenging the indigency determination, this appeal
would be dismissed for want of prosecution.  See Tex. R. App. P. 37.3(b).  No brief challenging the
indigency determination has been filed.  No record on the merits determination has been filed.

		This appeal is dismissed for want of prosecution.



						                                                                                     

						G. Alan Waldrop, Justice

Before Chief Justice Jones, Justices Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   June 18, 2010

Do Not Publish


